           Case 1:20-cv-00095-SPW Document 27 Filed 12/30/20 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 KIM POTTER,
                                                  CV 20-95-BLG-SPW
                       Plaintiff,

 vs.                                               ORDER

 ETHICON, INC., et al.,

                       Defendants.

       Plaintiff Kim Potter moves for the admission of Allison Whitten to practice

before the Court in the above captioned matter with Ben T. Sather of Billings,

Montana, designated as local counsel. The motion complies with Local Rule

83.1(d).

       IT IS SO ORDERED that Plaintiff Kim Potter’s motion to admit Allison

Whitten to appear pro hac vice (Doc. 26) is GRANTED and she is authorized to

appear as counsel with Ben T. Sather pursuant to L.R. 83.1(d) in the above

captioned matter.

       DATED this 30th day of December, 2020.



                                             SUSAN P. WATTERS
                                             United States District Judge



                                         1
